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 5
                            UNITED STATES DISTRICT COURT
 6                         WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
 7
     MADELEINE GARZA,                                 CASE NO. C18-5106 BHS
 8
                             Plaintiff,               ORDER TO SHOW CAUSE
 9          v.

10   NATIONAL RAILROAD PASSENGER
     CORPORATION d/b/a AMTRAK,
11
                             Defendant.
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            This matter comes before the Court on Plaintiff Madeleine Garza’s (“Garza”)
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     claim against Defendant National Railroad Passenger Corporation d/b/a Amtrak
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     (“Amtrak”) for violation of the Washington Consumer Protection Act (“CPA”), Dkt. 1,
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     the Court’s order denying in part and granting in part Amtrak’s motion for summary
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     judgment on this claim, Dkt. 44, Amtrak’s motion to certify order for interlocutory
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     appeal, Dkt. 69, and the Court’s decision to exclude this claim from the trial on Garza’s
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     negligence claim.
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            At this time, the Court is considering severing the claim under Federal Rule of
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     Civil Procedure 21 and opening an entirely new case just for that CPA claim. If the
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     ORDER - 1
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 1   Court also severed other similar claims in the cases against Amtrak, then it could

 2   consolidate all of those CPA-only causes of action for one trial. This procedure seems

 3   more efficient and less confusing than consolidating all of the actions in which a plaintiff

 4   asserts a negligence claim and a CPA claim. The Court, however, will allow the parties

 5   an opportunity to respond before issuing an order of severance. Therefore, any party may

 6   show cause no later than December 20, 2019 why the Court should not sever Garza’s

 7   CPA claim from this case and open an entirely new case for that claim.

 8          IT IS SO ORDERED.

 9          Dated this 11th day of December, 2019.

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                                               ABENJAMIN H. SETTLE
                                                United States District Judge

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     ORDER - 2
